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 1                                      UNITED STATES DISTRICT COURT

 2                                          DISTRICT OF NEVADA

 3                                                       ***

 4

 5   UNITED STATES OF AMERICA,

 6                         Plaintiff,                         2:12–cr–0463–JCM–VCF

 7   vs.
                                                              ORDER AND
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                                                              REPORT & RECOMMENDATION
     FREDERICK VERNON WILLIAMS, et al.,
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                           Defendants.
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             This matter involves the prosecution of Frederick Vernon Williams, et al. for fraudulently
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     procuring United States passports, unemployment benefits, and Nevada identification cards.

14   (See, e.g., Indictment (#1) at 1–3). Before the court are Williams’ motions for:

15                             Rule 17(b) subpoena (#216);
                               Rule 17(b) subpoena (#217);
16
                               Ex parte motion to proceed to Proceed in District Court Without Prepaying
17                              Fees or Costs (#219);
                               Ex parte motion for reconsideration (#230);
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                               Ex parte motion for clarification (#236);
19                             Ex parte motion for funds for expert assistance (#249);
                               Motion to Dismiss (#256); and,
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                               Motion to Calendar an emergency pretrial order conference (#258).
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             On June 13, 2014, Williams filed a notice of appeal with the Ninth Circuit Court of Appeals.
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     (See Doc. #268). “The filing of a notice of appeal is an event of jurisdictional significance—it confers
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     jurisdiction on the court of appeals and divests the district court of its control over those aspects of the
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     case involved in the appeal.” Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58, 103 S. Ct. 400,
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     74 L.Ed.2d 225 (1982); see also Dayton Indep. Sch. Dist. v. U.S. Mineral Prods. Co., 906 F.2d 1059,
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     1063 (5th Cir. 1990) (“When one aspect of a case is before the appellate court on interlocutory review,
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 3   the district court is divested of jurisdiction over that aspect of the case. A district court does not have the

 4   power to alter the status of the case as it rests before the Court of Appeals.”) The district court does not

 5   regain jurisdiction over those issues until the court of appeals issues its mandate. Id.

 6          Williams’ appeals the Honorable James C. Mahan’s order, which adopted several of the
 7   undersigned’s reports and recommendations, including a report and recommendation concerning one of
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     Williams’ motions to dismiss. (See Doc. #261). Because Williams’ appeal potentially affects the entire
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     landscape of Williams’ defense, the court denies Williams’ motions without prejudice pending an order
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     for the Ninth Circuit.
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            ACCORDINGLY, and for good cause shown,
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                                                       ORDER
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            IT IS ORDERED that Williams’ motion for Rule 17(b) subpoena (#216) is DENIED WITHOUT
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     PREJUDICE.
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16          IT IS FURTHER ORDERED that Williams’ motion for Rule 17(b) subpoena (#217) is DENIED

17   WITHOUT PREJUDICE.

18          IT IS FURTHER ORDERED that Williams’ ex parte motion to proceed to proceed in the

19   District Court without prepaying fees or costs (#219) is DENIED WITHOUT PREJUDICE.
20          IT IS FURTHER ORDERED that Williams’ ex parte motion for reconsideration (#230) is
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     DENIED WITHOUT PREJUDICE.
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            IT IS FURTHER ORDERED that Williams’ ex parte motion for clarification (#236) is DENIED
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     WITHOUT PREJUDICE.
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           IT IS FURTHER ORDERED that Williams’ ex parte motion for funds for expert assistance
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     (#249) is DENIED WITHOUT PREJUDICE.
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 3         IT IS FURTHER ORDERED that Williams’ motion to calendar an emergency pretrial order

 4   conference (#258) is DENIED WITHOUT PREJUDICE.

 5                                      RECOMMENDATION

 6         IT IS RECOMMENDED that Williams’ motion to dismiss (#256) is DENIED WITHOUT
 7   PREJUDICE.
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           DATED this 23rd day of June, 2014.
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12                                                       CAM FERENBACH
                                                         UNITED STATES MAGISTRATE JUDGE
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